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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


    IMPLICIT, LLC,
                   Plaintiff,
              v.                              Civil Action No. 2:19-cv-40-JRG-RSP
    IMPERVA, INC.,                            LEAD CASE
                   Defendant.
    IMPLICIT, LLC,
                   Plaintiff,
              v.
                                              Civil Action No. 2:19-cv-39-JRG-RSP
    FORTINET, INC.,
                   Defendant.

    IMPLICIT, LLC,
                   Plaintiff,
              v.                              Civil Action No. 2:19-cv-37-JRG-RSP
    JUNIPER NETWORKS, INC.,
                   Defendant.

          DEFENDANTS’ JOINT OPPOSITION TO IMPLICIT’S MOTION TO AMEND
                  FOURTH AMENDED DOCKET CONTROL ORDER




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   I.        INTRODUCTION

             Defendants Juniper Networks, Inc., Imperva, Inc., and Fortinet, Inc. (collectively

   “Defendants”) hereby jointly oppose the motion of Plaintiff Implicit, LLC to amend the Court’s

   Fourth Amended Docket Control Order dated December 19, 2019 (Dkt. 172) (the “Motion”).

             The Court should deny the Motion as Implicit has failed to establish any good cause for its

   proposed extensions to the case schedule. Notably, Implicit filed its Motion just four days after its

   former lead counsel (Hosie Rice LLP) withdrew from this case with an express representation that

   “[t]he withdrawal of Hosie Rice will not delay the proceedings.” Dkt. 189 at 1 (emphasis added).

   Yet delay is exactly what Implicit now seeks in its Motion.

             Implicit offers just two justifications for its proposed modifications to the case schedule,

   neither of which has any merit. First, Implicit argues that it would be more “efficient” to delay the

   fact and expert deadlines until after Markman proceedings are completed. Yet this issue was

   expressly discussed with Implicit’s prior counsel in December 2019, and the parties reached

   agreement at that time on the current stipulated schedule without any adjustment of other dates.

   Moreover, as this Court is well aware, the Implicit patent family has already been construed

   numerous times before, and Implicit is currently challenging the Court’s constructions in post-trial

   briefing in the NetScout case and on appeal to the Federal Circuit in the Sandvine case. Thus, to

   the extent that Implicit is concerned that uncertainty about claim construction will lead to

   “inefficiency” in fact and expert discovery, Defendants have offered to stay this case altogether

   until those issues are resolved in NetScout and Sandvine. Tellingly, Implicit has refused this

   proposal.

             Second, Implicit argues that it is necessary to delay certain case deadlines to facilitate

   deposition discovery. However, the factual record shows a total lack of diligence on Implicit’s




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   part, which reflects the absence of “good cause.” For example, although this case was filed nearly

   a year ago, Implicit made no attempt to schedule depositions until late in the day on December 20,

   2019 (the Friday before the holidays), when it suddenly attempted to serve 15 deposition notices

   for early January in violation of the Discovery Order. Defendants have since been working

   diligently to provide dates (Juniper has provided dates within the discovery period for all of its

   witnesses) and believe it is reasonable for the parties to allow modest accommodations for any

   particular witness that needs to be scheduled after the current fact discovery cutoff. Apparently

   Implicit believes this as well, as the only dates it offered for its one and only witness (Mr.

   Balassanian) were several weeks after the current fact discovery deadline. Such accommodations

   do not require upending the entire case schedule.

              In short, although Implicit may now wish for a different schedule from the one that its

   former counsel recently agreed to before withdrawing from this case, that fact does not remotely

   satisfy Implicit’s burden to show “good cause”—especially in view of its representation just days

   ago that this withdrawal would “not delay the proceedings.” Accordingly, the Court should deny

   Implicit’s Motion.

   II.        PROCEDURAL BACKGROUND

              A.     Prior Proceedings and Schedule Adjustments

              Implicit is a patent holding company that has brought numerous lawsuits on its

   “demultiplexing” patents, none of which has proven successful on the merits. Implicit lost its first

   case against Juniper on summary judgment (non-infringement and invalidity) in the Northern

   District of California. More recently, a jury found Implicit’s patents not infringed after a full trial

   in Implicit, LLC v. NetScout Sys., Inc., No. 2:18-cv-00053-JRG, Dkt. 222 (E.D. Tex. Dec. 13,




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   2019). Following this verdict, Implicit entered a stipulation of non-infringement in Implicit LLC

   v. Sandvine Corp., No. 2:18-cv-00054-JRG, Dkt. 17 (E.D. Tex. Dec. 17, 2019).

              Shortly before the beginning of the NetScout trial, Implicit reached out to propose

   extending the deadline for its opening claim construction brief in this case. In an effort to

   accommodate this request, the parties undertook a broader discussion about adjusting the overall

   claim construction schedule. On December 18, 2019, counsel for Juniper had a phone call with

   then-counsel for Implicit (from the law firm Hosie Rice) regarding scheduling issues. McPhie

   Decl. ¶ 3. Counsel specifically discussed whether modifying the Markman schedule might

   negatively impact other case deadlines. Id. Counsel for Juniper noted that the parties had already

   received substantial guidance from the Court regarding claim construction, as the disputed family

   of patents had already been construed multiple times. Id. As a result of this discussion, counsel for

   both parties ultimately agreed upon the proposed modifications to the Markman dates without any

   need to adjust any other dates. Id. The Fourth Amended Docket Control Order was entered on

   December 19, 2019. Dkt. 172.

              Following the adverse judgments in NetScout and Sandvine, Implicit filed an unopposed

   motion to withdraw Hosie Rice as counsel of record. Dkt. 189. Implicit specifically represented in

   its motion that “[t]he withdrawal of Hosie Rice will not delay the proceedings.” Id. at 1. The Court

   granted this motion on January 16, 2020. Dkt. 192.

              At the same time that Hosie Rice was preparing to withdraw as counsel of record, Implicit’s

   remaining counsel began efforts to seek a further modification of the case schedule. Defendants

   expressed concern that Implicit’s newly proposed schedule was unreasonably compressed in view

   of the existing trial date. For example, Implicit’s proposed schedule provided only two weeks for

   Defendants to prepare rebuttal reports on the topics of both infringement and damages. The parties




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   met and conferred about these issues and have continued to meet and confer following the filing

   of Implicit’s Motion. See, e.g., McPhie Decl. ¶¶ 4, 5; Ex. 1 (1/17/2020 Davis Email). However,

   the parties have not been able to reach agreement on a modified schedule.

              B.     Depositions

              Although this case was filed nearly a year ago, Implicit made no attempt to schedule any

   depositions with any defendant in this case before until sending an email late in the day on

   December 20, 2019—the Friday before the Christmas and Hanukkah holidays. McPhie Decl. ¶ 8.

   Specifically, Implicit’s email attached 15 deposition notices with dates set for early January, but

   without having spoken with or otherwise conferred with any of the Defendants in advance

   regarding those dates. Id. Accordingly, Implicit was immediately informed that these attempted

   notices were in violation of the Discovery Order, which requires “before noticing a deposition of

   a party or witness affiliated with a party, the noticing party must confer about the scheduling of

   the deposition with opposing counsel.” Id.; Dkt. 107 (Discovery Order) ¶ 10. Implicit was also

   asked on that same date to provide dates for the inventor of the patents-in-suit, a Rule 30(b)(6)

   witness, and third party Resolution Strategies, who Implicit had previously indicated should be

   contacted through Implicit’s counsel.

              Juniper. Implicit and Juniper met and conferred to discuss deposition scheduling on

   January 16, 2020. Juniper provided dates for four Juniper witnesses, all of which were within the

   fact discovery period.1 However, Implicit failed to provide any dates within the fact discovery

   period. Instead, it offered to produce its principal and named inventor for deposition on March 4,

   5, and 6, 2020—several weeks after the current fact discovery cutoff of February 11, 2020. Implicit


              1
            Juniper explained that the fifth witness requested by Implicit was no longer relevant as
   he had been identified only in connection with a Juniper product that is no longer accused of
   infringement following Implicit’s dismissal of the “server” patents.



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   also informed Juniper for the first time that it would not provide dates for Resolution Strategies.

   Juniper reiterated its request that Implicit provide dates within the current fact discovery period.

              Fortinet. On December 30, 2019, Fortinet informed Implicit that the dates and location in

   the deposition notices directed to Fortinet would not work and that it would identify convenient

   days and locations as soon as possible. Since then, Fortinet has diligently worked with its

   employees to determine availability in view of their job responsibilities and time commitments

   and the short notice period provided by Implicit; Fortinet anticipates making available at least its

   technical witnesses before the close of fact discovery on February 11, 2020.

              Imperva. Implicit and Imperva have yet to meet and confer regarding deposition

   scheduling. On December 23, 2019, Imperva informed Implicit that several of its witnesses are

   located in Israel, and that it would work with these witnesses to identify dates of availability that

   would reduce the burden of travel on all parties. Imperva continues to work to determine dates for

   depositions of its witnesses within the discovery period, or shortly thereafter. On January 16, 2020,

   Implicit demanded from Imperva an immediate meet and confer on Implicit’s forthcoming motion

   to compel all of Imperva’s witnesses’ availability for deposition, among other discovery disputes

   Implicit raised for the first time in that communication. On January 18, 2020, Imperva responded

   to Implicit’s demand by agreeing to meet and confer on January 21, 2020, and requested that

   Implicit provide dates on which it would produce its principal and named inventor for deposition.

   Implicit responded less than 30 minutes later to inform all Defendants that Implicit was

   immediately “withdrawing” the dates that it has proposed earlier for the Rule 30(b)(6) deposition

   of Implicit and deposition of named inventor Mr. Balassanian until resolution of its Motion. Ex. 8

   (1/19/20 Hurt Email).




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              To date, Implicit has failed to offer any available deposition dates for any Implicit-

   affiliated witness, much less any identify any available dates within the current fact discovery

   period.

   III.       LEGAL BACKGROUND

              “Scheduling orders and their enforcement are regarded as essential in ensuring that cases

   proceed to trial in a just, efficient, and certain manner.” Virtual Chart Sols. I, Inc. v. Meredith,

   2019 WL 856400, at *3 (E.D. Tex. Jan. 16, 2019). Federal Rule of Civil Procedure 16(b) requires

   that a party seeking to modify a scheduling order show “good cause.” “The good cause standard

   requires the “party seeking relief to show that the deadlines cannot reasonably be met despite the

   diligence of the party needing the extension.” S&W Enters., LLC v. SouthTrust Bank of Ala., NA,

   315 F.3d 533, 535 (5th Cir. 2003); see also Anascape, Ltd. v. Microsoft Corp., 2008 WL 7180756,

   at *3 (E.D. Tex. May 1, 2008). “In assessing good cause, the trial court primarily considers the

   diligence of the party seeking to alter the existing schedule.” SynQor, Inc. v. Artesyn Techs., Inc.,

   2013 WL 12138997, at *1 (E.D. Tex. July 11, 2013). “In determining whether good cause exists,

   courts consider a four-part test: ‘(1) the explanation for the failure to [timely move for leave to

   amend]; (2) the importance of the [amendment]; (3) potential prejudice in allowing the

   [amendment]; and (4) the availability of a continuance to cure such prejudice.’” Meier v. UHS of

   Del., Inc., 2019 WL 2515365, at *3 (E.D. Tex. June 18, 2019) (quoting S&W Enters., 315 F.3d at

   535.

   IV.        ARGUMENT

              Implicit’s Motion should be denied as all four of the applicable factors fail to satisfy

   Implicit’s burden to “good cause” to modify the schedule. First, Implicit has not explained why it

   did not request alternations to these deadlines earlier, especially given that the parties submitted a




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   joint motion to amend the case schedule just a month ago (which the Court granted). At that time,

   the parties had discussed the possibility of altering additional deadlines besides the Markman

   dates, but Implicit ultimately decided not to pursue further amendments. Second, Implicit has not

   demonstrated that it cannot reasonably meet the deadlines despite its alleged diligence. In its

   motion, Implicit has not identified any meaningful efforts on its part to meet these upcoming

   deadlines—nor could it in light of its own failure to offer deposition dates for Implicit’s witnesses

   before the close of discovery. Third, the timing of the Markman hearing after the close of fact

   discovery and expert reports can be readily accommodated in this case, including because this

   Court has already construed these very same terms on numerous occasions (which Implicit is

   currently challenging on appeal of the Sandvine action and in post-trial briefing in the NetScout

   action). Fourth, Implicit’s proposed schedule will substantially prejudice the Defendants because

   it severely compresses the deadlines through trial, providing significantly shortened period to

   prepare expert reports and depositions and summary judgment briefings. In light of these reasons,

   Implicit has not shown good cause, and the Court should deny Implicit’s request to modify the

   fourth amended docket control order.

              First, Implicit has not explained why it failed to request alterations to these deadlines

   earlier. It was just recently on December 18, 2019, when the parties jointly sought modification of

   the docket control order, which occurred after lengthy discussion between all parties. See Dkt. 170;

   McPhie Decl. ¶ 2; Gaudet Decl. ¶ 2; Larson Decl. ¶ 3. It was Implicit that initiated these

   discussions because the deadline for Implicit’s opening claim construction brief fell on December

   26, 2019 (a date that Implicit had originally opted for during the parties’ original discussions

   regarding scheduling in July 2019). See Ex. 2 (12/16/19 Martin Email); Ex. 3 (7/12/19 Martin

   Email, Combined Proposals); McPhie Decl. ¶ 6. Implicit reached out to Juniper on December 7,




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   2019, about adjusting the claim construction deadlines, and further requested modification of the

   schedule in an email to all Defendants dated December 16, 2019. Ex. 2 (12/16/19 Martin Email);

   Ex. 4 (12/7/19 Martin Email).

              Contrary to Implicit’s assertion, the parties did consider at that time whether the other non-

   Markman deadlines required amendment as well. For example, Implicit’s then-counsel from Hosie

   Rice (Brandon Martin) and Juniper’s counsel (David McPhie) had a conversation on December

   18, 2019, in which they explicitly discussed the interplay between the Markman dates and other

   deadlines including the fact discovery cutoff, expert report deadlines, and currently scheduled

   dates for pre-trial submissions and trial. See McPhie Decl. ¶ 3. The parties ultimately agreed that

   no further amendment to the other deadlines was necessary. See id.; Dkt. 170. Now, less than a

   month after the Court entered the fourth docket control order on December 19, 2019, and after

   having its prior counsel Hosie Rice dismissed from the case, Implicit is inexplicably seeking a do-

   over. See Dkt. 172; Ex. 5 (1/8/20 Chin Email). This does not demonstrate good cause.

              Second, Implicit has not demonstrated “that the deadlines cannot reasonably be met despite

   the diligence of the party needing the extension.” S&W Enterprises, 315 F.3d at 535; see also EMG

   Tech., LLC v. Chrysler Grp., LLC, 2013 WL 12147662, at *5 (E.D. Tex. July 3, 2013) (“the Court

   is not inclined to consider a continuance in view of Plaintiff's failure to demonstrate due

   diligence”). Regarding fact discovery, parties have already made significant productions of

   documents (including source code) and have both served and responded to written discovery—

   mainly in July through October 2019. See Dkt. 170; McPhie Decl. ¶ 7; Gaudet Decl. ¶ 4; Larson

   Decl. ¶ 5. It was not until December 20, 2019, the Friday night before the holiday weekend, that

   Implicit served all of the Defendants with improper deposition notices without even attempting to




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   meet and confer as required under the Discovery Order. See Ex. 6 (12/20/19 Hurt Email); Dkt. 107

   ¶ 10.

              In any event, the parties continue to work diligently to complete fact discovery by the

   currently scheduled cutoff date, and it appears that the parties will be able to do this with respect

   to document production, written discovery, and some or most of the outstanding depositions. And

   to the extent that some witnesses may require a modest individual accommodation after the

   discovery cutoff, Defendants believe that this is something the parties can and should be able to

   arrange without having to adjust any other case deadlines.

              For instance, Juniper met and conferred with Implicit’s counsel on January 16, 2020

   regarding the scheduling of the depositions that Implicit and Juniper noticed on December 20,

   2020. See Ex. 7 (1/17/19 Petersen Email); McPhie Decl. ¶ 9. Juniper provided available deposition

   dates for four witnesses on technical and financial issues as Implicit had requested, and all of these

   offered dates are on or before the close of discovery on February 11, 2020. See Ex. 7 (1/17/19

   Petersen Email); McPhie Decl. ¶ 9. By contrast, during that meet and confer, Implicit failed to

   offer deposition dates for any of its witnesses before the close of discovery even though Juniper

   requested such dates on December 20, 2019—the very same day that Implicit requested dates from

   Juniper. See Ex. 6 (12/20/19 Petersen Email); Ex. 7 (1/17/19 Petersen Email); McPhie Decl. ¶ 9.

   In its motion, Implicit does not offer a reason for why it cannot diligently meet the current

   discovery deadline, and Implicit did not provide a reason during the meet and confer regarding

   why its witnesses are unavailable until March 4, 5, and 6, 2020. See Ex. 7 (1/17/19 Petersen Email);

   McPhie Decl. ¶ 10.

              After receiving Implicit’s deposition notices, Imperva informed Implicit on December 23,

   2019 and through subsequent correspondence that several of its witnesses are located in Israel, and




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   that Imperva is actively working with its witnesses to identify dates that would reduce the burden

   of travel on all parties. Without previously notifying Imperva of any purported deficiency in its

   document production or interrogatory responses, on January 16, 2020 Implicit demanded a meet

   and confer on Implicit’s forthcoming motion to compel Imperva’s production of documents,

   interrogatory responses, and its witnesses’ availability for deposition. Imperva responded by

   agreeing to meet and confer on January 21, 2020, and requested that Implicit provide further details

   and support for why it contends Imperva’s discovery responses to date are deficient, and dates its

   principal and named inventor would be available for deposition by Defendants. Less than 30

   minutes later, Implicit notified all Defendants that it was immediately withdrawing making its

   principal and named inventor available for deposition until resolution of its Motion. Nevertheless,

   Imperva remains willing to work with Implicit to attempt to resolve these issues within the current

   discovery period.

              Fortinet has diligently worked with its employees to determine their availability for

   depositions in view of their job responsibilities and time commitments and the short notice

   provided by Implicit. Despite receiving deposition notices on December 20, 2019, Fortinet

   anticipates making available at least its technical witnesses before the close of fact discovery on

   February 11, 2020.

              Third, Implicit’s proposed schedule would unreasonably compress the deadlines for expert

   reports and discovery, summary judgment briefing, and pretrial activity without yielding any

   meaningful benefits in terms of “efficiency” (as Implicit contends). In particular, Implicit’s

   purported concerns about the timing of the Markman proceedings relative to other deadlines are

   unfounded, especially in a case where the Court has already construed these very same claim terms

   at issue from the Implicit patent family on numerous occasions. See Implicit, LLC v. NetScout Sys.,




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   Inc., 2019 WL 1614725 (E.D. Tex. Apr. 15, 2019); Implicit, LLC v. Huawei Techs. USA, Inc.,

   2018 WL 1169137 (E.D. Tex. Mar. 6, 2018); Implicit, LLC v. Trend Micro, Inc., 2017 WL

   1190373 (E.D. Tex. Mar. 29, 2017). The parties, therefore, have numerous resources that shed

   light on potential constructions, which they can use to prepare expert reports and complete fact

   discovery.      Moreover, the parties have been on notice regarding their respective proposed

   constructions since November 26, 2019, and the deadline to complete claim construction discovery

   (December 2, 2019) has also already passed. See Dkt. 152, 161.

              This sequence of events under the current case schedule is not uncommon. In fact, “parties

   ‘regularly’ have to write expert reports addressing alternative constructions when Court does not

   issue its final claim construction ruling until after expert reports are due.” St. Clair Intellectual

   Prop. Consultants, Inc. v. Matsushita Elec. Indus. Co., 2012 WL 1015993, at *5 (D. Del. Mar. 26,

   2012), aff’d, 522 F. App’x 915 (Fed. Cir. 2013) (citing Xerox Corp. v. Google, Inc., Claim Constr.

   Hr’g. Tr. (C.A. No. 10–136 D.I. 197 at 11)). Courts have recognized that when a Markman hearing

   occurs after the close of expert discovery, “it [is] incumbent upon [the patentee] to have [its expert]

   examine [defendant's] claim construction and offer alternative opinions on infringement and

   validity.” Rambus, Inc. v. Infineon Techs. AG, 145 F. Supp. 2d 721, 731-32 (E.D. Va. 2001); cf.

   Nike, Inc. v. Adidas Am., Inc., 479 F. Supp. 2d 664, 667-68 (E.D. Tex. 2007) (“A party cannot

   argue that because its precise proposal for a construction of a claim term is not adopted by the

   court, it is surprised and must prepare new infringement contentions.”). And regardless of whether

   the Markman hearing occurs before the close of fact discovery and expert reports, there is no

   guarantee that the Court will actually issue its order before those deadlines in any event.

              Moreover, Implicit has appealed the Court’s claim constructions in the Sandvine action and

   is still engaged in post-trial briefing regarding those constructions in the NetScout action. Indeed,




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   in Sandvine, Implicit and Sandvine stipulated to noninfringement because “[t]he requested relief

   will conserve judicial and party resources by allowing the parties to forego further litigation of the

   ’683, ’790, and ’104 patent infringement claims in this Court, while preserving Implicit’s right to

   appeal the Court’s claim construction.” See Implicit LLC v. Sandvine Corp., No. 2:18-cv-00054-

   JRG, Dkt. 17 (E.D. Tex. Dec. 17, 2019). In view of these developments, Defendants asked whether

   Implicit was willing to stay this consolidated action until the completion of the Sandvine appeal

   and/or the Netscout post-trial briefing. However, Implicit responded that it would not consider a

   stay. See Ex. 1 (1/17/19 Davis Email). Therefore, Implicit’s argument that an amended schedule

   is needed so the parties can have greater certainty regarding claim construction is disingenuous—

   Implicit’s approach of appealing the Court’s construction while going forward with this action

   presents the risk that this entire dispute will be rendered moot.

              Fourth, the new deadlines will substantially prejudice the Defendants and none of

   Implicit’s proposed adjustments adequately remedy that prejudice. Under Implicit’s proposed

   schedule, the Defendants would have only two weeks after Implicit’s service of expert disclosures

   to provide rebuttal expert disclosures. Additionally, under Implicit’s proposed schedule,

   dispositive motions would be due just two weeks after expert reports are completed. The briefing

   of dispositive motions also will not be complete until less than a month before the pretrial

   conference and just two days before motions in limine are due, which will require the Defendants

   to spend more resources preparing for a trial that might not occur. And all of the revised deadlines

   will result in Defendants having to prepare case strategy and submissions under a significantly

   compressed timeline relative to the current (already aggressive) schedule.




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   V.         CONCLUSION

              Simply put, Implicit has fallen fall short of its burden of proving “good cause” for its

   belated proposed amendments to the schedule in this case. In light of the foregoing reasons, the

   Court should deny Implicit’s Motion.

   Dated: January 20, 2020                        By:       David McPhie

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                                     CERTIFICATE OF SERVICE

              The undersigned certifies that the foregoing document was electronically served on all

   counsel of record, on this the 20th day of January 2020.

                                                           /s/ Melissa R. Smith




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